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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

KHALID AHMED QASSIM,                            )
                                                )
                         Petitioner             )
                                                )
                  v.                            )                No. 04-cv-01194 (TFH)
                                                )
JOSEPH R. BIDEN, et al.,                        )
                                                )
                         Respondents.           )
________________________________________________)

          PETITIONER’S MOTION AND SUPPORTING BRIEF FOR
     TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

       Petitioner Khalid Ahmed Qassim moves under Fed. R. Civ. P. 65 for a temporary

restraining order and preliminarily injunction. 1 Qassim respectfully requests that the Court

enjoin the government from (i) denying him the opportunity to meet with his counsel on either

Saturday, November 13, 2021, or Sunday, November 14, 2021, to discuss on a privileged and

confidential basis any aspect of this case or his PRB hearing now scheduled for Tuesday,

November 16, 2021; (ii) denying him the opportunity to have confidential and privileged

discussions with his counsel on Monday, November 15, 2021, regarding any aspect of this case

or his upcoming PRB session without the presence of his government-appointed non-attorney

“personal representative;” and (iii) denying his counsel Thomas B. Wilner the opportunity to

depart from Guantánamo on the first military flight scheduled to leave Guantánamo after

Qassim’s PRB hearing on November 16, 2021. The reasons for this motion are given below.




1
  In accordance with LCvR 7(m), counsel for petitioner has conferred by e-mail with counsel
for respondents, but the parties have not been able to resolve the issues raised by this motion.
Petitioner assumes respondents will oppose it.
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                                         STATEMENT

       As Qassim’s counsel Thomas B. Wilner explained to the Court at the status conference

on October 13, 2021, Qassim’s PRB hearing has been advanced to Tuesday, November 16,

2021. Until now Qassim and his counsel have been reluctant to participate in any PRB hearing

because of concerns that the government may use statements made by detainees at PRB

hearings against them in their habeas cases. However, under the new Administration, some

PRB hearings have resulted in decisions clearing the detainee for release, a necessary first step

in the lengthy process followed by the Executive Branch to free Guantánamo detainees from

incarceration.

       As a result, Qassim wants to participate in his upcoming PRB hearing. Mr. Wilner

promised Qassim he would travel to Guantánamo and give Qassim the best, nuanced legal

advice Mr. Wilner can offer with respect to the PRB hearing, this habeas proceeding, and the

relationship between the two.

       As Mr. Wilner informed the Court at the status conference, the government has erected

barriers that severely impair Mr. Wilner’s ability to provide such legal advice to Qassim. Those

barriers deny Qassim meaningful access to counsel.

       First, when Mr. Wilner called Qassim by telephone, he was warned by the government

call censors that he was not allowed to discuss with Qassim any aspect of the strategy of his

upcoming PRB hearing. When Mr. Wilner inquired about the source of this prohibition, the call

censors did not identify any written source and simply laughed at Mr. Wilner.

       Second, authorities at Guantánamo told Qassim’s co-counsel, Mark Maher, that

detainees’ counsel cannot meet with detainees to discuss PRB-related matters on a privileged




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and confidential basis outside the presence of their “personal representatives.” These “personal

representatives are non-attorney military personnel appointed by the government.

        Third, at the present time, the only way detainees’ counsel may get to or from

Guantánamo is by military transport from or to the U.S. Naval Base at Jacksonville, Florida. As

Mr. Wilner informed the Court, he was told that detainees’ counsel are not permitted by the

military to fly on the same flight as Military Commission personnel, and that therefore he would

have to fly from Jacksonville on Friday, November 12, 2021, and could not return until Friday,

November 19, 2021.

        Fourth, Guantánamo authorities rejected Mr. Maher’s request for a meeting with Qassim

on either Saturday, November 13, 2021, or Sunday, November 14, 2021, to discuss PRB-related

matters. They also rejected Mr. Maher’s request for a meeting by Mr. Wilner and him with

Qassim on those dates to discuss this habeas proceeding.

        To the extent government counsel addressed Mr. Wilner’s points at the status

conference, government counsel cited an opinion by Judge Lamberth in Salahi v. Obama, Civil

Action No. 05-0569 (RCL), 2015 WL 9216557 (D.D.C. Dec. 17, 2015). Government counsel

represented that, in Salahi, Judge Lamberth held that this Court has no jurisdiction over PRB-

related issues.

        The Court said at the status conference that it would consider Mr. Wilner’s claims if set

forth in an appropriate motion for relief. Since then, Qassim’s counsel have endeavored to

reach an accommodation with the government that would allow Mr. Wilner to meet with

Qassim on either Saturday, November 13, 2021, or Sunday, November 14, 2021, and to discuss

in full confidence all aspects of Qassim’s habeas case and upcoming PRB hearing.




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         On November 2, 2021, government counsel informed Qassim’s counsel that the

government again rejected the request by Mr. Wilner and Mr. Maher for a visit with Qassim

during the weekend of November 13-14, 2021, prior to Qassim’s PRB hearing. The

government cited its policy that, “[r]equests for habeas visits … on weekends (Saturday and

Sunday) … will not be approved absent exigent circumstances,” and declared that “no such

circumstances are involved here.” 2

                                           ARGUMENT

         “To obtain a TRO, [Qassim] must show: (1) that he is likely to succeed on the merits of

his claim; (2) that he is likely to suffer irreparable harm in the absence of preliminary relief; (3)

that the balance of the equities tips in his favor; and (4) that a TRO is in the public interest.”

D.A.M. v. Barr, 486 F.Supp.3d 404, 411 (D.D.C. 2020). Accord, e.g., Winter v. Nat’l Res. Def.

Council, 555 U.S. 7, 20 (2008). Qassim has satisfied this four-factor test, especially by showing

irreparable harm.

         A. Qassim is Likely to Succeed on the Merits

         Qassim is likely to prevail on the merits of his claims for meaningful access to counsel.

Specifically, the Court is likely to hold that Qassim is entitled to meet with his counsel on the

weekend of November 13/14, 2021; that his meetings with counsel can be held on a confidential

and privileged basis outside the presence of his government-appointed non-attorney “personal

representative;” and that his counsel should not have to remain at Guantánamo for a week to

await military transport home.

         From the time the Supreme Court held in Rasul v. Bush, 542 U.S. 466 (2004), that

Guantánamo detainees have a right to habeas corpus, this Court has been vigilant in protecting


2
    E-mail dated November 2, 2021, from Kristina Wolfe to Neil H. Koslowe, annexed.


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the detainees’ corollary right of meaningful access to counsel. The Court established that right

over the government’s strenuous objections in Al Odah v. United States, 346 F.Supp.2d 1, 5-8

(D.D.C. 2004). 3 The Court in Al Odah also rejected the government’s efforts to impair that

access by monitoring detainees’ conversations with counsel, ruling that the government’s

position “is both thinly supported and fails to fully consider the nature of the attorney-client

privilege.” Id. at 10.

       Based on Al Odah, Qassim is entitled to meet with his counsel to have a confidential and

privileged discussion about his habeas case and his upcoming PRB hearing outside the presence

of his government-appointed non-attorney “personal representative.” Contrary to government

counsel’s representation at the recent status conference, Judge Lamberth did not hold in Salahi

that this Court lacks jurisdiction over all PRB-related issues. In Salahi, Judge Lamberth held

that the Court had no jurisdiction over a detainee’s claim that the Court should fix a specific

date for his PRB hearing. Salahi, 2013 WL 9216557, at *1-3. That decision has no bearing on

Qassim’s right to discuss with his counsel, outside the presence of a government-appointed non-

attorney “personal representative,” all aspects of his habeas case, including the effect on that

case of his participation in a PRB hearing.

       The Court’s decision in In re Guantanamo Bay Detainee Continued Access to Counsel,

892 F.Supp.2d 8 (D.D.C. 2012), also rendered by Judge Lamberth, supports Qassim’s

contention that the government’s denial of his counsel’s request to meet with him over the

weekend of November 13/14, 2021, due to a lack of “exigent circumstances” cannot stand. The

Court in that case firmly repulsed the government’s claim that it had unbridled discretion to



3
 Counsel arguing for the detainees’ right to meaningful access to counsel in Al Odah were
undersigned counsel for Qassim, Mr. Wilner and Neil H. Koslowe.


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grant or deny access to counsel by detainees whose habeas petitions had been withdrawn or

denied.

          The government argued that a protective order governing access to counsel that had been

crafted by this Court could and should be replaced by a government-authored “memorandum of

understanding.” In re Guantanamo Bay Detainee, 892 F.Supp.2d at 13. Among other things,

that memorandum gave “final and unreviewable discretion to the Commander, Joint Task

Force-Guantanamo Bay” to “deny petitioners access to counsel whenever he deems the

‘operational needs or logistical constraints’ justify it.” Id. at 18.

          The Court held that the government’s attempt to give the Commander of the Joint Task

Force unbridled control over counsel in-person visits at Guantánamo usurped the Judiciary’s

duty to ensure the detainees meaningful access to the courts. In re Guantanamo Detainee, 892

F.Supp.2d at 18. “If the separation-of-powers means anything, it is that this country is not one

ruled by Executive fiat. Such blanket, unreviewable power over counsel-access by the

Executive does not comport with our constitutional system of government.” Id. at 19. In other

words, the government’s attempt to deny counsel access due to “operational needs or logistical

constraints” is circumscribed by separation-of-powers rules which this Court sits to enforce. As

Judge Lamberth said: “[T]he Court simply cannot countenance placing the ‘operational needs or

logistical constraints” at Guantánamo ahead of detainees’ constitutional right to access to

counsel.” In re Guantanamo Detainee, 892 F.Supp.2d at 24.

          Similarly, the government’s ritualistic invocation of “exigent circumstances” here flies

in the face of obvious reality. As of July 21, 2021, the Joint Task Force at Guantánamo

reportedly had 1800 military personnel guarding 40 detainees. 4 Surely the Joint Task Force has


4
    See pbs.org/newshour/extra/2021/08/7-things-for-students-to-know-about Guantanamo-bay/


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the capacity to arrange for at least one weekend meeting on Saturday, November 13, 2021, or

Sunday, November 14, 2021, for Qassim to meet with his counsel.

       Finally, the Supreme Court’s decision in Procunier v. Martinez, 416 U.S. 396 (1974)

supports Qassim’s contention that the government cannot force Mr. Wilner to remain at

Guantánamo for a full week simply to provide him with the legal counsel he needs and

deserves. In Procunier, the Supreme Court struck a prison regulation that prohibited attorneys

from using law students and other paraprofessionals for attorney-client interviews. The

Supreme Court pointed out that, “[t]he remoteness of many California penal institutions makes

a personal visit to an inmate client a timeconsuming undertaking,” and the challenged regulation

“would deter some lawyers from representing prisons who could not afford to pay for their

traveling time.” Procunier, 416 U.S. at 420. The Supreme Court held that, “[r]egulations and

practices that unjustifiably obstruct the availability of professional representation or other

aspects of the right of access to the courts are invalid.” Id. at 419. 5 Therefore, the government

cannot condition Qassim’s access to Mr. Wilner on Mr. Wilner’s remaining at Guantánamo for

a full week.

       B. Qassim is Facing Irreparable Harm

       Qassim’s upcoming PRB hearing on Tuesday, November 16, 2021, may be his one and

only chance to be cleared for release from Guantánamo after more than 19 years of

imprisonment without charge. It is difficult to imagine that he could face any greater

irreparable harm at the critical moment than the denial of meaningful access to his counsel.


5
  In Thornburgh v. Abbott, 490 U.S. 401 (1989), the Supreme Court cut back on the holding of
a different aspect of Procunier – one dealing with prisoners’ First Amendment rights to receive
publications – but not on the presently relevant Procunier holding regarding due process review
of legal visitation rules that impede a prisoner’s access to the courts. See Benjamin v. Fraser,
264 F.3d 175 (2d Cir. 2001).


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       In In re Guantanamo Bay Detainee, 892 F.Supp.2d at 23, this Court, per Judge

Lamberth, expressly held that governmental restrictions on a detainee’s meaningful access to

counsel is “an injury which the Court may rightfully redress using its equitable powers.”

Indeed, the District of Columbia Circuit repeatedly has held that ‘a prospective violation of a

constitutional right constitutes irreparable injury for … purposes of seeking equitable relief.”

Karem v. Trump, 960 F.3d 656, 667 (D.C. Cir. 2020) (internal quotation marks and citations

omitted).

       The fact that Qassim is facing irreparable harm is sufficient, without more, to justify the

grant of the temporary injunctive relief he seeks. As the Supreme Court stated in Sampson v.

Murray, 415 U.S. 61, 87 (1974): “This Court has stated that ‘[t]he basis of injunctive relief in

the federal courts has always been irreparable harm and inadequacy of legal remedies’” (quoting

Beacon Theatres, Inc. v. Westover, 359 U.S. 500, 506-507 (1959)).

       C. The Balance of Equities and Public Interest Favor Qassim

       Where, as here, “the Government is the opposing party,” the last two factors of the test

for temporary injunctive relief, namely, “the balance of equities and public interest … merge.”

Nken v. Holder, 556 U.S. 418, 435 (2009). Enforcement of an unconstitutional regulation “is

always contrary to the public interest.” Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013).

Therefore, the balance of equities and public interest favor the grant of temporary injunctive

relief to Qassim.

       In sum, Qassim has satisfied the four-part test for a temporary restraining order and

preliminary injunction. Accordingly, the Court should grant Qassim’s motion.




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Dated: November 4, 2021            Respectfully submitted,

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